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                       Exhibit A
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN


RICHARD PRATT and LARRY JONES,
individually and on behalf of all others         Case No. 21-cv-11404-TLL-PTM
similarly situated,
                                                 Honorable Thomas L. Ludington

                    Plaintiffs,

       v.

KSE SPORTSMAN MEDIA, INC. D/B/A
OUTDOOR SPORTSMAN GROUP,

                    Defendant.

    REPLY DECLARATION OF PHILIP L. FRAIETTA IN SUPPORT OF
               PLAINTIFFS’ MOTION TO COMPEL

 I, Philip L. Fraietta, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am a partner at Bursor & Fisher, P.A., counsel of record for

 Plaintiffs in this action. I am an attorney at law licensed to practice in the States of

 Michigan, New York, New Jersey, and Illinois, and I am a member of the bar of

 this Court. I have personal knowledge of the facts set forth in this declaration and,

 if called as a witness, I could and would testify competently thereto.

       2.     I make this Reply Declaration in support of Plaintiffs’ Motion to

 Compel (ECF No. 40).

       3.     On August 16, 2022, third-party Epsilon Data Management, LLC

 produced a spreadsheet reflecting extracts of data files that were transmitted to it
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 on Defendant’s behalf during the relevant time period. The extracts are limited to

 information pertaining to the named Plaintiffs that were included on these data

 files. A true and correct copy of that spreadsheet is attached hereto as Exhibit 1.

        4.        Plaintiffs understand that Epsilon is in possession of these data files

 and that they likely contain tens of thousands of Michiganders’ Personal Reading

 Information.

        5.        Attached hereto as Exhibit 2 are true and correct copies of Plaintiffs’

 individual records in Defendant’s customer database, bearing Bates stamps

 PRATT_KSE_000396 and PRATT_KSE_000397.

        6.        On August 24, 2022, Plaintiffs’ Counsel conducted a meet-and-confer

 teleconference with Defendant’s Counsel and offered to accept production of the

 customer database and the transmission data in an anonymized format, such that

 the “CUSTOMER_ID” field is provided, but the names and addresses associated

 with those unique customer ID numbers are withheld until after a ruling on class

 certification.

        7.        Attached hereto as Exhibit 3 is a true and correct copy of the Acxiom

 “extract rule,” bearing Bates stamps PRATT_KSE_000402.

        8.        Attached hereto as Exhibit 4 is a true and correct copy of a contract

 between Defendant and CDS Global, Inc., bearing Bates stamps

 PRATT_KSE_000264 to 274.


                                               2
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       I declare under penalty of perjury that the above and foregoing is true and

 accurate. Executed August 26, 2022, at New York, New York.




                                                 Philip L. Fraietta




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                          Exhibit 1
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          Exhibit 1 - filed under seal
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                          Exhibit 2
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          Exhibit 2 - filed under seal
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                          Exhibit 3
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           Exhibit 3 - filed under seal
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                           Exhibit 4
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           Exhibit 4 - filed under seal
